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                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 THOMAS MOORER,                                   )
                                                  )
  Plaintiff,                                      )       CASE NO.:
                                                  )
          v.                                      )
                                                  )       Complaint for violation of Civil Rights and
 CITY OF CHICAGO POLICE                           )       Supplemental State Claims
 OFFICERS M. PLATT, STAR NO. 577,                 )
 J. GONZALEZ, STAR NO. 20210, J.                  )
 CARDO, STAR NO. 21299, T.                        )       JURY DEMANDED
 MCDERMOTT, STAR NO. 21084, J.                    )
 FOLINO, STAR NO. 20143, M.                       )
 BENIGNO, STAR NO. 20807, F.                      )
 SZWEDO, STAR NO. 20813, and THE                  )
 CITY OF CHICAGO,                                 )
                                                  )
    Defendants.                                   )


                                   JURISDICTION AND VENUE

        1.      This action arises under the United States Constitution and the Civil Rights Act of

1871 (42 U.S.C. Section 1983). This court has jurisdiction under and by virtue of 28 U.S.C.

Sections 1343, 1331 and 1367.

        2.      Venue is founded in this judicial court upon 28 U.S.C. Section 1391 as the acts

complained of arose in this district.

                                               PARTIES

        3.      At all times herein mentioned, Plaintiff Thomas Moorer (hereinafter “Plaintiff”) as

and is a citizen of the United States, and was within the jurisdiction of this court.

        4.      At all times herein mentioned Defendants City of Chicago Police Officers Mary

Platt Star No.: 577, J. Gonzalez, Star No. 20210, J. Cardo, Star No. 21299, T. McDermott, Star

No. 21084, J. Folino, Star No. 20143, M. Benigno, Star No. 20807, F. Szwedo, Star No. 20813

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were employed by the City of Chicago Police Department, and were acting under color of state

law and as the employee, agent, or representative of the City of Chicago Police Department.

These Defendants are being sued in their individual capacities.

        5.      At all times herein mentioned, the CITY OF CHICAGO was a political division

of the State of Illinois, existing as such under the laws of the State of Illinois. At all relevant

times, the CITY OF CHICAGO maintained, managed, and/or operated the CITY OF CHICAGO

Police Department.

                                   FACTUAL ALLEGATIONS

THE MURDER

        6.      On or about August 28, 2010 shortly after midnight, a murder by a gunshot to the

chest occurred at 7023 W. Grand Ave., Chicago, Illinois.

        7.      The victim’s name was Edward Ramos (“Ramos”) who was inside his basement

level apartment with his brother, Edwin Ramos, and his cousins, Walter Velez, Miguel Velez, and

Eliezer Martinez.

        8.      Approximately three men approached 7023 W. Grand Ave through a gangway to the

basement level apartment.

        9.      At that time, there was a knock on the basement door and Edward Ramos opened the

basement apartment door. An armed black male who was wearing a covering on the lower part of

his face forced his way into the apartment and a struggle ensued.

        10.     Eventually, apparently, shots were fired by the initial armed man who entered the

apartment and another armed man who was located somewhere outside the door to the apartment.

        11.     One of the fired shots struck Ramos in the chest, and another shot struck Eliezer

Martinez in his right thigh. Ramos died as a result of the shooting.



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        12.     The shooting appeared to be drug related.

THE INVESTIGATION AND FALSE INDENTIFICATION

        13.     On August 28, 2010, shortly after the shooting, the Police Officers, including some

of the Defendants interviewed numerous witnesses who were present at the scene.

        14.     At least three additional witnesses were outside the residence when the shooting

occurred.

        15.     The original Incident Report generated by Defendants lists 4 unknown black male

suspects age 20- 30 as the perpetrators; Plaintiff was 39 years old at the time of this incident.

        16.     At some time on or about August 28, 2010, one or more of the witnesses purportedly

told Defendants that a person with the nickname “Boom” did the shooting and indicated that it was

likely a drug related shooting.

        17.     Plaintiff has a tattoo with the name “Boomer” and police documents indicated that

Plaintiff has used the name “Boomer.”

        18.     During the morning hours of August 28, witnesses were shown a photo spread that

contained Plaintiff’s photo.

        19.     Later that day on August 28, 2010, the Defendants caused Plaintiff to be arrested.

He was brought to the police station.

        20.     At the police station, Defendants and each of them, participated in putting together a

staged, misleading, suggestive and coerced physical lineup.

        21.     The following day, on August 29, 2010 the Defendants staged another suggestive,

misleading improper and falsified lineup, for other witnesses.




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          22.   After the lineups, and as a result of the staged, misleading, suggestive, and improper

photo and physical lineups the witnesses (to varying degrees of certainty) purportedly told

Defendants that Plaintiff was the offender that killed Ramos.

          23.   There was no forensic evidence discovered that linked Plaintiff to the crime; DNA

was tested on 2 weapons recovered at the scene and the cloth masks allegedly worn by the offenders

and the DNA did not match, and in fact, excluded Plaintiff. No latent prints were recovered from the

alleged murder weapon.

          24.   Plaintiff was at another location at the time of the murder.

THE CRIMINAL PROCEEDINGS AND TRIAL

          25.   Following August 28, 2010, Plaintiff was charged with many criminal counts,

including first degree murder, battery with a firearm, and counts of attempted murder in the first

degree.

          26.   In or about October, 2010, grand jury proceedings were held in which some of the

Defendants and witnesses testified. The true nature of the lineups was not revealed and other

misleading testimony was given and/or withheld.

          27.   The trial of this matter lasted five days, the first day being July 24, 2017, and the last

day being July 28, 2017.

          28.   The trial terminated in the Plaintiff’s favor, the jury finding him not guilty on all

counts.

          29.   Plaintiff was deprived of his liberty for a substantial length of time, roughly 7 years,

as a result of the acts of the Defendants.

          30.   There was no legal cause to arrest the Plaintiff and/or prosecute him for any crimes

arising out of the August 28, 2010 incident described above.



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        31.      By reason of the above-described acts and omissions of Defendants, Plaintiff

sustained injuries, including but not limited to, loss special damages, humiliation and indignities,

and suffered great mental and emotional pain and suffering all to his damage in an amount to be

ascertained.

        32.      The aforementioned acts of Defendants were willful, wanton, malicious, oppressive

and done with reckless indifference to and/or callous disregard for Plaintiff's rights and justify the

awarding of exemplary and punitive damages in an amount to be ascertained according to proof at

the time of trial.

        33.      By reason of the above-described acts and omissions of Defendants, Plaintiff was

required to retain an attorney to institute, prosecute and render legal assistance to him in the within

action so that he might vindicate the loss and impairment of his rights. By reason thereof, Plaintiff

requests payment by Defendants of a reasonable sum for attorney’s fees pursuant to 42 U.S.C.

Section 1988, the Equal Access to Justice Act or any other provision set by law.

                                              COUNT I

   PLAINTIFF AGAINST ALL INDIVIDUAL KNOWN AND UNKOWN DEFENDANTS
      AND OTHERS, FOR A CONSPIRACY AND INDIVIDUALLY TO VIOLATE
                    PLAINTIFF’S DUE PROCESS RIGHTS

        34.      Plaintiff hereby incorporates and realleges paragraphs one (1) through thirty-three

(33) hereat as though fully set forth at this place.

        35.      The Defendants Platt, Gonzalez, Cardo, McDermott, Folino, Benigno, and

Szwedo acted in a conspiracy and individually to deprive Plaintiff of his due process and liberty

rights. In furtherance of an agreement to violate Plaintiff’s rights, Defendants engaged in,

manufacturing, fabricating and falsifying evidence and testimony as indicated above.




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        36.      By reason of the conduct of defendants and each of them, Plaintiff was deprived

of rights, privileges and immunities, including his right to due process and liberty, secured to him

by the Fourth and/or Fourteenth Amendments to the Constitution of the United States and laws

enacted thereunder.

        37.      In engaging in the conduct described above, the Defendants did not disclose

exculpatory evidence that Plaintiff had not committed the crimes indicated above. They also

misled witnesses, conducted unduly suggestive photographic and physical lineups, manufactured

and fabricated evidence, and coerced and/or gave falsified testimony. All of this evidence was

material evidence favorable to the Plaintiff, and/or prejudicial evidence in that it caused Plaintiff

to remain incarcerated until his trial and the finding of not guilty.

        38.      The foregoing was unnecessary and unreasonable and was therefore in violation

of Plaintiff’s due process rights. Therefore, the Defendants are liable to Plaintiff pursuant to 42

U.S.C. § 1983.

                              COUNT II
 PLAINTIFF AGAINST ALL INDIVIDUAL DEFENDANTS, FOR THE CIVIL RIGHTS
                 CLAIM OF MALICIOUS PROSECUTION


        39.      Plaintiff incorporates and realleges paragraphs one (1) through thirty-three (33)

hereat as though fully set forth at this place.

        40.      Defendants Platt, Gonzalez, Cardo, McDermott, Folino, Benigno, Szwedo and

other unknown defendants or other police officer(s) caused a criminal prosecution to commence

and/or continue against Plaintiff.

        41.      The persons named in the previous paragraph, police officers employed by the

CITY OF CHICAGO, maliciously commenced and caused to be continued a criminal action

against Plaintiff without probable cause for the institution and/or continuation of these

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proceedings. As a result, Plaintiff was injured emotionally, financially, and otherwise from the

loss of certain constitutionally protected liberty and related rights.

        42.     Each and every individual Defendant, initiated, facilitated, and/or continued this

malicious prosecution by the creation of manufactured and fabricated evidence, including by

writing false police reports, preparing and signing false criminal complaints, conducting unduly

prejudicial, misleading, suggestive and coercive physical and photo lineups, giving false

testimony and/ or otherwise wrongfully misrepresenting and/or withholding evidence

        43.     The criminal proceedings were terminated in the plaintiff’s favor on or about July

28, 2017.

        44.     As a result of the acts of the Defendants and each of them, Plaintiff was deprived

of his liberty for a substantial length of time, and suffered other general and special damages.

        45.     Therefore, the above named defendants are liable under the 42 U.S.C. § 1983 for

Malicious Prosecution.

                              COUNT III
    PLAINTIFF AGAINST THE INDIVIDUAL DEFENDANTS, AND THE CITY OF
                CHICAGO FOR THE SUPPLEMENTAL CLAIM
                         OF FALSE IMPRISONMENT

        46.     Plaintiff incorporates and realleges paragraphs one (1) through thirty-three (33)

hereat as though fully set forth at this place.

        47.     Defendants and each of them, and other unknown defendants caused an arrest

without probable cause and a criminal prosecution which was commenced and/or continued

against Plaintiff.

        48.     The Defendants, police officers employed by the CITY OF CHICAGO, without

legal cause arrested and maliciously commenced and caused to be continued a criminal action

against Plaintiff.

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        49.     As a result of the foregoing Plaintiff was falsely imprisoned for roughly 7 years.

        50.     As a result, Plaintiff was injured emotionally, financially, and otherwise from the

loss of certain constitutionally protected liberty and related rights.

        51.     The individual defendants, and each of them, initiated, facilitated, and/or

continued this false arrest, malicious prosecution and false imprisonment by the creation of

manufactured and fabricated evidence, including by writing false police reports, preparing and

signing false criminal complaints, misled witnesses through suggestive lineups and manufactured

and fabricated evidence and falsified other evidence at the grand jury and during the litigation of

the underlying criminal case.

        52.     The criminal proceedings were terminated in the plaintiff’s favor on or about July

28, 2017.

        53.     The CITY OF CHICAGO is liable to Plaintiff for the acts of its employees

pursuant to the doctrine of respondeat superior.

        54.     As a result of the acts of the Defendants and each of them, Plaintiff was deprived

of his liberty for a substantial length of time.

        55.     Therefore, the above-named defendants and the CITY OF CHICAGO are liable

under the supplemental state law claim of False Imprisonment.



        WHEREFORE, the Plaintiff, by and through his attorneys, ED FOX & ASSOCIATES, LTD.,

requests judgment as follows against the Defendants, and each of them:

        1.      That Defendants and other unnamed and unknown Defendants be required to pay
                Plaintiff’s general damages, including emotional distress, in a sum to be ascertained;

        2.      That these same Defendants be required to pay Plaintiff’s special damages;




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3.     That these same Defendants other than the City of Chicago be required to pay
       Plaintiff’s attorneys fees pursuant to Section 1988 of Title 42 of the United States
       Code, the Equal Access to Justice Act or any other applicable provision;

4.     That each of the individual Defendants other than the City of Chicago and Cook
       County be required to pay punitive and exemplary damages in a sum to be ascertained;

5.     That the Defendants be required to pay Plaintiff’s costs of the suit herein incurred; and

6.     That Plaintiff have such other and further relief as this Court may deem just and
       proper.


                                       BY:     s/ Edward M. Fox
                                               ED FOX & ASSOCIATES
                                               Attorneys for Plaintiff
                                               300 West Adams
                                               Suite 330
                                               Chicago, Illinois 60606
                                               (312) 345-8877
                                               efox@efox-law.com


           PLAINTIFF HEREBY REQUESTS A TRIAL BY JURY

                                       BY:     s/Edward M. Fox
                                               ED FOX & ASSOCIATES
                                               Attorneys for Plaintiff
                                               300 West Adams
                                               Suite 330
                                               Chicago, Illinois 60606
                                               (312) 345-8877
                                               efox@efox-law.com




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